
*42OPINION.
Trammell:
The petitioner alleges that the patent had a fair market value of $300,000 on March 1, 1913, and contends that he should be allowed for each of the taxable years here involved of that amount as a deduction for depreciation. The respondent denies that the patent had the value alleged, or that the petitioner is entitled to the deductions contended for.
In support of a value of $300,000, the petitioner offered his own oral testimony as to three offers made about 1912 to purchase the patent. The best of these offers was for an amount of $300,000. We think this testimony is incompetent and insufficient for establishing value. Sharpe v. United States, 191 U. S. 341. While the evidence shows that earnings from the patent for 1913 were $21,000, which amount was greater than the earnings for the preceding year, we are unable from these facts to determine w'hat the value of the patent was on March 1, 1913.
The petitioner having failed to establish the value of the patent on March 1, 1913, it becomes unnecessary to determine the other question involved.

Judgment will be entered for the respondent.

